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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 1:20-cv-23287-DPG



  LUIS MANUEL RODRIGUEZ, et al.,

                                Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                                Defendants.


                     DEFENDANTS’ JOINT NOTICE OF SUPPLEMENTAL
                       AUTHORITY PURSUANT TO LOCAL RULE 7.81

         In Herederos de Roberto Gomez Cabrera, LLC v. Teck Resources Ltd., --- F. 4th ----, 2022

  WL 3330347 (11th Cir. Aug. 12, 2022), the Eleventh Circuit affirmed the dismissal of a Title III

  case on personal-jurisdiction grounds, holding:

             A corporation’s contacts could not be imputed to its shareholder because the

              corporation was not a “mere alter ego[].” Id. at *5. [DE 264 at 3–5].

             The national long-arm statute, Rule 4(k)(2), is not subject to some “more lenient” due-

              process standard. “[T]he personal-jurisdiction analysis under the Fifth Amendment is

              the same as that under the Fourteenth.” Herederos, 2022 WL 3330347, at *2. [DE 267

              at 11 n.13].




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          Defendants submit this notice subject to their defenses, including as to personal
  jurisdiction.
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           A Title III plaintiff suing over the alleged use of real property in Cuba cannot establish

            personal jurisdiction by alleging that they felt the “effects” in the United States.

            Herederos, 2022 WL 3330347, at *4–5. [DE 264 at 7–8; DE 266 at 7–8; DE 267 at 8].

           Absent personal jurisdiction, it was not necessary to address the plaintiff’s standing.

            Herederos, 2022 WL 3330347, at *1 n.1. [DE 265 at 2–5].




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  Dated: August 16, 2022
         Miami, Florida
   /s/ Mark F. Raymond                               /s/ Naim S. Surgeon
   NELSON MULLINS                                    STROOK & STROOK & LAVAN LLP
   Mark F. Raymond                                   Naim S. Surgeon
   mark.raymond@nelsonmullins.com                    Florida Bar No. 101682
   Jonathan Etra                                     nsurgeon@strook.com
   jonathan.etra@nelsonmullins.com                   200 South Biscayne Boulevard
   2 South Biscayne Blvd. 21st Floor                 Miami, Florida 33131
   Miami, FL 33131                                   Telephone: (305) 789-9360
   Telephone: 305-373-9400
                                                     AKERMAN LLP
   ALLEN & OVERY LLP                                 Pedro Freyre
   Andrew Rhys Davies (admitted pro hac vice)        Florida Bar No. 192140
   andrewrhys.davies@allenovery.com                  pedro.freyre@akerman.com
   Justin L. Ormand (admitted pro hac vice)          3 Brickell City Centre
   justin.ormand@allenovery.com                      98 Southeast 7th St., Suite 1100
   1221 Avenue of the Americas                       Miami, Florida 33131
   New York, NY 10020                                Telephone: 305-982-5507
   Telephone: 212-610-6300
                                                     WILMER CUTLER PICKERING HALE AND
                                                     DORR LLP
   Attorneys for Defendant Imperial Brands plc
                                                     Christopher Davies (admitted pro hac vice)
                                                     christopher.davies@wilmerhale.com
   /s/ Charles Murray Harris, Jr.
                                                     Jessica Lutkenhaus (admitted pro hac vice)
   TRENAM KEMKER SCHARF BARKIN
                                                     jessica.lutkenhaus@wilmerhale.com
   FRYE O’NEILL & MULLIS
                                                     Ashley McLaughlin Leen (admitted pro hac vice)
   Charles Murray Harris, Jr.
                                                     ashley.leen@wilmerhale.com
   charris@trenam.com
                                                     1875 Pennsylvania Ave NW
   Stephanie Crane Lieb
                                                     Washington, DC 20006
   slieb@trenam.com
                                                     Telephone: (202) 663-6000
   101 E Kennedy Boulevard
   Tampa, FL 33601-1102
                                                     Chris Casamassima (admitted pro hac vice)
   Telephone: (727) 820-3950
                                                     chris.casamassima@wilmerhale.com
   RABINOWITZ, BOUDIN, STANDARD,                     350 S. Grand Ave., Suite 2400
   KRINSKY & LIEBERMAN, P.C.                         Los Angeles, CA 90071
   Michael R. Krinsky (admitted pro hac vice)        Telephone: (213) 443-5300
   mkrinsky@rbskl.com
                                                     Attorneys for Defendants WPP PLC, Young &
   Lindsey Frank (admitted pro hac vice)
                                                     Rubicam LLC, and BCW LLC, a/k/a Burson Cohn
   lfrank@rbskl.com
                                                     & Wolfe LLC
   14 Wall Street, Suite 3002
   New York, NY 10005
   Telephone: (212) 254-1111
   Attorneys for Defendant Corporación Habanos,
   S.A.




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